                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                3:02-CR-182-3


UNITED STATES OF AMERICA            )
                                    )
v.                                  )                        ORDER
                                    )
MIKA LETHAKA PHILLIPS (3)           )
____________________________________)


       THIS MATTER IS BEFORE THE COURT upon defendant’s Motion for Early

Termination from Supervised Release [doc. #253] filed on August 5, 2015. For cause shown,

the motion is GRANTED effective the date of the signing of this Order.


       IT IS SO ORDERED.

                                       Signed: January 11, 2016




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